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                         UNITED STATES COURT OF APPEALS
                             FOR THE TENTH CIRCUIT
                              OFFICE OF THE CLERK
                               Byron White United States Courthouse
                                        1823 Stout Street
                                     Denver, Colorado 80257
                                         (303) 844-3157
 Elisabeth A. Shumaker                                                              Chris Wolpert
 Clerk of Court                         April 14, 2016                         Chief Deputy Clerk




 Evan R. Chesler
 Cravath, Swaine & Moore
 825 Eighth Avenue
 New York, NY 10019-7475

 RE:       16-4040, SCO Group v. IBM
           Dist/Ag docket: 2:03-CV-00294-DN

 Dear Counsel:

 Our records indicate that you are not currently a member of the Tenth Circuit Bar. In that
 regard, please note 10th Circuit Rule 46.2, which states:

 All attorneys, not previously admitted to the bar of this court, immediately upon filing a
 case or entering an appearance in a case in this Court, shall obtain from the clerk the
 necessary forms for admission upon written motion and shall promptly execute and return
 them. No attorney who has appeared in a case in this Court may withdraw without
 consent of the court.

 You may obtain the Application and Oath for Admission form from our website at
 www.ca10.uscourts.gov/clerk/atty. Please complete the form and submit it with a check
 for $225.00 payable to "Elisabeth A. Shumaker, Clerk". In the alternative, please note the
 court now accepts online payment for admission fees. Information regarding making
 online payments is also available on our website. The fee is waived if you represent the
 United States or any federal agency, or have been appointed by the court to represent a
 party on appeal. See 10th Cir. R. 46.2(B).

 We urge you to complete and submit your application within 30 days of the date of this
 letter, as the failure to become admitted to the bar of the Tenth Circuit may result in your
 being stricken from this case.

 Please contact this office if you have questions.
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                                       Sincerely,



                                       Elisabeth A. Shumaker
                                       Clerk of the Court




 EAS/rls




                                       2
